Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 1of12 Pageid#: 836

IN THE UNITED STATES DISTRICT COURT
FOR WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION
DR. ROBERT W. MALONE
Plaintiff

v. Case Number: 3:22-cv-63
PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN,
AMERICA OUT LOUD,
DR. JANE RUBY
And
RED VOICE MEDIA

Defendants.

Nee Nee” ee” Nee “re” Ne “ee” Nee” Nn” Nee” Nee” Nee” Ne” Nee “me” “re” ee”

DEFENDANTS DR. PETER R. BREGGIN AND GINGER R. BREGGIN’S
REPLY TO PLAINTIFF’S MEMORANDUM IN OPPOSITION TO DEFENDANTS’
MOTION TO DISMISS.

COME NOW, Dr. Peter R. Breggin (hereinafter “Dr. Breggin’”’) and his wife
Ginger R. Breggin (hereinafter "Mrs. Breggin”) (collectively, “the Breggins”), by
counsel, and submit the following Reply to Plaintiff's Memorandum In Opposition To

Defendants’ Motions To Dismiss.

BACKGROUND

Both the Plaintiff and the Breggin Defendants are involved in the field of
medicine and are currently a part of the public discussion regarding the science and
politics of both the handling of the worldwide coronavirus pandemic, and COVID-19

vaccine. Plaintiff Robert Malone filed his lawsuit against the Breggins, alleging that he is
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 2o0f12 Pageid#: 837

entitled to over twenty-five million dollars ($25,350,000.00) in damages because he
asserts that the Breggins “and Ruby and their agents falsely accused Dr. Malone of fraud,
disinformation, dishonesty, deception, lying to the American public, lack of integrity
immorality, and ethical improprieties.” (Pl. Am. Compl. ¢ 1). Dr. Malone is a licensed
medical doctor living in Madison County, Virginia. He asserts that he “is an
internationally recognized scientist/physician and the original inventor of MRNA
vaccinations as a technology, DNA vaccination, and multiple non-viral DNA and
RNA/mRNA platform delivery technologies. (Pl. Am Compl. § 3). He was the “leading
contributor to the science exploited by Pfizer and other pharmaceutical corporations to

create the alleged ‘vaccines’ for the novel coronavirus (“COVID-19”).” (Pl. Am. Compl.
q 1).

The Defendants Peter R. Breggin MD and his wife Ginger Breggin are citizens
and residents of New York. Dr. Breggin is a lifelong reformer in the field of medicine
and is known as “The Conscience of Psychiatry” for his criticism of biological psychiatry
and his promotion of more effective, empathic, and ethical forms of psychological,
educational, and social approaches to people with emotional suffering and disability. He
graduated from Harvard College with Honors and his psychiatric training included a
Teaching Fellowship at Harvard Medical School. Following his training, he became a
Full Time Consultant in the U.S. Public Health Service at NIH, assigned to the National
Institute of Mental Health. Since then, he has taught at several universities, including
Johns Hopkins, George Mason, and the University of Maryland, as well as at the
Washington School of Psychiatry. Dr. Breggin is the author of more than 20 medical and

scientific texts, as well as popular books, including the bestseller and highly-
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 30f12 Pageid#: 838

documented Talking Back to Prozac. Since 2020, Dr. and Mrs. Breggin have been
involved in the public discussion regarding a complete examination of the real science
surrounding COVID-19 and the efficacy of the resulting vaccine and its effect on
humanity throughout the world. They have published numerous articles on the subject,
and have participated on panel discussions, media interviews and appeared on podcasts

and other social media platforms to discuss their views.

In his Amended Complaint, Dr. Malone alleges that the Breggins defamed him
(by themselves and through their “agents” and/or “co-conspirators”) when they
supposedly made false statements about him in the public discussion over the coronavirus
vaccine (Count I), defamed him by implication because the allegedly defamatory
statements made in internet articles, podcast videos and on social media platforms
(referred cumulatively to by Plaintiff as “the Statements” in his Amended Complaint)
were delivered by the Breggins with the “strong gist and implication... that Dr. Malone is
intentionally dishonest, deceitful, immoral, unethical and dangerous, and that he is unfit
to practice medicine.” (Pl. Am. Complaint, § 23) (Count ID. Dr. Malone also alleges that
the Breggins used “insulting words, in the context and under the circumstances in which
they were spoken and written” with the intent to incite violence and a breach of the

peace. (Pl. Am. Comp. § 28-30) (Count ITI).

The Breggins filed motions to dismiss Malone’s Amended Complaint pursuant to
Rules 12(b)(2) and 12(b)(6) of the Federal Rules of Civil Procedure. Malone has now
filed his Memorandum in Opposition to Defendants’ Motions To Dismiss, and this reply

follows.
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 4of12 Pageid#: 839

ARGUMENT

While Dr. Malone (“Malone”) cites numerous cases regarding the subject matter at issue
currently before the court in his memorandum, he fails to make a prima facie showing sufficient
to establish the jurisdiction of this Court to hear his claims, and he utterly fails to overcome the

deficiencies in the three causes of action themselves.

I, The Plaintiff Has Failed to Establish Personal Jurisdiction Over The
Breggins.

Malone asserts that “[p]ersonal jurisdiction is warranted in Virginia because Virginia is
the ‘focal point’ both of Breggins’ and Ruby’s publications and of the harm suffered,” and that
“Tb ]ecause of the taunting nature of their excessive publication of the false and defamatory
statements — online and via social media — Breggins and Ruby knew or should have known that
their inflammatory statements would reach Dr. Malone, causing substantial harm in Virginia
(Malone Mem. p. 7). His reliance upon the case law he cites to support this supposition is

misplaced. In UMG Recordings, Inc. v. Kurbanov, 963 ['.3d 344. 355 (4th Cir. 2020), a Russian

citizen was sued in Virginia for running an internet website that allowed music piracy
internationally, but had significant documented use of the website by Virginia visitors who he
specifically targeted through the website’s 3" party advertising. The Fourth Circuit found "more
than sufficient facts to conclude that [Defendant] Kurbanov has purposefully availed himself of
the privilege of conducting business in Virginia and thus had a 'fair warning’ that his forum-
related activities could 'subject [him] to [Virginia's] jurisdiction." Jd. at 353 (quoting Burger
King Corp. v. Rudzewicz, 47\1_U.S.472 (1985)). Unlike the case at bar, the Court found
Defendant Kurbanov's contacts with Virginia were "plentiful," noting the volume of Virginia-
based visitors to the websites (more than half a million during the relevant period) and the

repeated interactions of these visitors with the Websites. Id. The Fourth Circuit also rejected

4
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 5of12 Pageid#: 840

Defendant Kurbanov's "attempt to distance himself from this commercial arrangement" between
the websites and Virginians. /d. It found that Defendant Kurbanov "facilitates targeted
advertising by collecting and selling visitors' data" and that it was "immaterial" whether it was he
or the third-party advertisers who actually targeted Virginians with advertisements on the
websites. Jd, at 354. While Malone believes that the personal jurisdiction issue in this matter fits
squarely with the Kurbanovy analysis, it does not. Contrary to what Malone wants this Court to
believe, the Kurbanov Court clearly requires more than just a showing that a defendant foreign to
Virginia operates a “website that was globally accessible and was interactive to a degree,
Virginians visited the website and downloaded information from the website” in order to vest

personal jurisdiction over them. (Malone Memo., p. 7).

Here, the Breggins have no such website or social media platform like the one analyzed
in Kurbanov to determine the issue of personal jurisdiction. First, Malone has not demonstrated
(as was proven in Kurbanovy ) that the Breggins had a significant Virginia-based audience to their
websites, videos, books and/or publications written by the Breggins. Second, Malone has not
alleged, in either his Amended Complaint or in his supporting memorandum, that the Breggins
utilized a 3" party advertising platform on their websites or social media accounts that
specifically targeted advertising to a Virginia audience, unlike the arrangement found in
Kurbanov, or that they profited from the targeted advertising and the collection of personal data
from its Virginia visitors. In fact, the Breggins don’t utilize any such advertising platform that
would target a particular state, nor do they sell any data information gleaned from the visitors to

their platforms. (Breggins Declaration, 5).

Moreover, Malone’s claim that “Virginia is the ‘focal point’ both of Breggins’ and

Ruby’s publications” is wholly without factual support. The only thing that connects this case to
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 6of12 Pageid#: 841

Virginia is the fact that Dr. Malone lives in the Commonwealth, and either read or heard these
statements while he was (presumably) in Virginia, and nothing more; and, Malone’s belief that
the “taunting nature” of their statements demonstrates that they should have known that their
statements “would reach Dr. Malone...in Virginia” is of no legal import and is completely
insufficient to create personal jurisdiction over Dr. and Mrs. Breggin by this Virginia Court.
And, Malone’s factually unsupported statement that since he filed this lawsuit the “Breggins and
Ruby have no problem. ...actively litigat[ing] this very case on the Internet, via podcasts
published in Charlottesville and via Breggins’ active website” does not now somehow confer the
Court’s jurisdiction over the Breggins. Any public comments made by the Breggins about this
litigation are not only within their right to do so, but also are not indicators of personal
jurisdiction, especially when they are released on the same public forums that seek a worldwide

audience and not are not specifically targeted to a Virginia audience. '

Ultimately, Malone does not bring to this Court any evidence that would give rise to
personal jurisdiction of this Court over the Breggins. Rather, and as evidenced by the Breggins’
Declaration, they lack the “minimum contacts” necessary to invoke jurisdiction in this case.
Additionally (and contrary to Malone’s assertion), litigating this case will impose burdens upon
the health of the Breggins that make it constitutionally unreasonable for them to be subject to
defending this matter in Virginia. (Exhibit 1, Breggins’ Declaration, § 6). Therefore, Malone’s

Amended Complaint should be dismissed for a lack of personal jurisdiction over the Defendants.

Il. Plaintiff Fails to State Proper Claims For Defamation and Defamation By
Implication.

* Malone’s claim that the Breggins operate “America Out Loud” website is patently false, as it is merely a media
platform that the Breggins appear on, but do not own or operate. The only website that they own or have any
control of is www.breggin.com.

Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 7of12 Pageid#: 842

As stated previously, both the Plaintiff and the Defendants are public figures engaged in a
great debate over the COVID-19 disease, how our government officials handled the shut-down
of society for a period during the pandemic, and the efficacy of the vaccine imposed upon the
population by governments all over the world. This vigorous scientific debate continues to this
day, and it involves reason, passion, and a constant analysis by people of the scientific evidence
and past governmental actions. There has not, to this day, been any absolute and uncontroverted
conclusions in this debate, as both the scientific evidence and government actions have been
interpreted differently by various scholars and scientists on a near constant basis. This quest for
the truth is still ongoing, and the stated opinions of each side, while they may conflict, are all
protected by the First Amendment. But as this debate rages on, we are reminded by the Court in
McCullough vy. Gannett Co., that “it is not this Court’s job to pick sides in a scientific debate,”
2023 WL 3075940 at *7, because there remains a “profound national commitment to the
principle that debate on public issues should be uninhibited, robust, and wide-open, and that it
may well include vehement, caustic, and sometimes unpleasantly sharp attacks” upon the people
who participate in the debate forum. New York Times v. Sullivan, 376 U.S. 254, 270 (1964). (See
also, Immanuel v. Cable News Network, Inc. 2022 WL 3030290 at *1: “Courts do not use
defamation law to decide or cut short arguments over unsettled questions of what medication
best or most safely prevents or treats disease.”). It is clear that the statements cited by Malone as
the basis of his defamation claims against the Breggins emanate from the open and public debate
over the COVID-19 pandemic and the resulting vaccine are merely opinions put forth in that
great debate. A debate in a free society always has more than one position, and while Malone
may not like the Breggins’ position, and most certainly might not agree with their position, the

Breggins’ stated position is nevertheless protected free speech that is not subject to Court
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 8of12 Pageid#: 843

intervention. Simply put, the parties to this litigation are engaged in non-actionable “academic
disputes.” Dr. Malone admitted as much on his GETTR social media account when he posted: “I
regret having to write this, but I continue to be pestered regarding Peter Breggin’s criticism of
Mattias Desmet and his book. As far as I am concerned, this is concern trolling on the part of
Dr. Breggin and his followers.....I have facilitated direct communication between them. I want
nothing to do with this, it is between them.....I am not in the business of facilitating nor
exploiting academic disputes.” (@rwmalonemd account on GETTR, posted on August 31, 2022

at 11:07 a.m.) (Emphasis added) (Exhibit 2).

Also, Malone’s claims that “Breggins and Ruby fabricated the statements out of whole
cloth with the intent to injure him” are likewise unsupported. (P1. Memo, p.17). In their
Memorandum in support of their Motion to Dismiss pursuant to Rule 12(b)(6), the Breggins
meticulously examine each of the allegedly defamatory statements attributed to them in great
detail, demonstrating why each statement is not fabricated, not made with the intent to injure Dr.
Malone, and therefore not actionable.” All sixteen statements cited by Malone against the
Breggins again arise from a worldwide debate (that he is an active participant in), and they are
not born out of “whole cloth,” but rather reflect their position and opinions regarding certain
issues that are relevant in the public discussion of the aftermath of the COVID-19 pandemic.
Malone has failed to show that the Defendants have acted with malice (as all parties agree is
required in this type of defamation claim), and Malone’s interpretation that others who have

openly agreed with the Defendants’ statements in the same public debate forum must therefore

* The Breggins re-incorporate all arguments in their Memo in support of their 12(b)(6) motion regarding each
allegedly defamatory statement as if stated herein. (Breggins Memo, Section II, A and B).

8
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 9of12 Pageid#: 844

be engaged in a “conspiracy” to defame him is entirely without merit.? The mere fact that others
may agree with the Breggins’ position appears to be foreign to Dr. Malone, as it is clear from his
pleadings that he is entirely certain that his position is the correct one and therefore it is not open
to either interpretation or debate by third parties. But alas, his mere belief of being right does not
blossom into actionable defamation just because someone dares to think differently than him,
and Malone cannot be permitted to create an intentional “chilling effect” on free speech through

this litigation on anything (and anyone) that contradicts his viewpoint.‘
Ill. The Insulting Words Claim Is Legally Insufficient.

Malone offers no more factual insight in his memorandum that would strengthen his
claim against the Breggins for “Insulting Words.” Malone claims in his memo that “Breggins’
and Ruby’s words are “insulting per se” and therefore are “fighting words” is also unsupported.
(Pl. Memo, p.20). Each of the sixteen statements made by the Breggins have been shown that
they are not words that amount to per se defamation, and most certainly were not of the type to
move reasonable people towards physical violence or a breach of the peace. Malone’s
allegations that Breggins’ statements accuse “Dr. Malone of being responsible for COVID” are
not true; his claim that the Breggins stated that “he created a technology that he knew would kill
people” is not true; his claim that they said that he was an “apologist for political mass

murderers” is inaccurate; and, his claim that the Breggins accused “Malone of fraud and grifting

> Malone wildly contends in his Amended Complaint that the Breggins are now engaged in a conspiracy with
Defendant Dr. Ruby, a gentleman named Paul Alexander and the “Stew Peters Network” in order to “attack”
Malone (See Amended Complaint, 4] 6, and footnotes 2 and 3), when in fact all the others, on their own accord and
not in concert with the Breggins, dared to agree with Dr. Breggin’s positions.

“ “If [can win these lawsuits (and that is a big ‘if7—defamation lawsuits are very hard to win) then this will
hopefully have a chilling effect on the corporate media + internet/social media defamation business model that so
many pursue — because its profitable.” Dr. Robert W. Malone Tweet, 3/27/23, at 6:53 pm. (Emphasis Added)

9
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 10o0f12 Pageid#: 845

(theft)” cannot be found in any of the statements cited by him in his Complaint, and no such

statement has ever been uttered by either Breggin about Dr. Malone. /d.
IV. Section §8.01-223.2 Prevents This Litigation from Moving Forward.

Finally, Malone asserts that Virginia’s Anti-SLAPP laws do not immunize the
Defendants because the statute itself does not protect those statements where the “declarant knew
or should have known were false or were made with reckless disregard for whether they were
false” (Section §8.01-223.2 (B)). He states that since he has (in conclusory language unsupported
by fact) asserted in his Amended Complaint that the statements made by the Defendants were
ones that the Defendants knew were false or made with a reckless disregard for the truth, that this

should be a sufficient shield against the effects of Virginia’s Anti-SLAPP law.

It is without question that the Breggins’ statements cited in Malone’s Amended
Complaint are solely “matters of public concern” that are protected as free speech under the First
Amendment because they originate from the COVID-19 debate, and are in response to assertions
made by Dr. Malone in the very same public forums — the health freedom movement and the
differing opinions on the COVID-19 pandemic, the safety of the vaccines produced, and Dr.
Malone’s concept (and opinion) of mass formation psychosis as it relates to how humans
responded to the crisis. “Statements of opinion are generally not actionable because such
statements cannot be objectively characterized as true or false,” and as such, opinion statements
consequently lack malice on the behalf of the speaker. Jordan v. Kollman, 269 Va. 569, 575, 612
S.Ed.2d 203, 206 (2005). A review of the sixteen statements attributed to the Breggins clearly
reveals that five of the statements are not statements made by the Breggins, and eleven
statements that can be attributed to the Breggins are unequivocal statements of opinion. One

cannot assert, let alone infer, that the five statements that were not uttered by the Breggins

10
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 11o0f12 Pageid#: 846

contained malice on their part, and because the other eleven statements cannot be objectively
characterized as either true or false because they are opinions of the speaker(s), they cannot
possibly have been made with a knowledge of their falsity by those speakers. Therefore, the

Amended Complaint is barred by Virginia Code §8.01-223.2.

WHEREFORE, for the foregoing reasons, and for those reasons set forth in their
Memoranda in Support of their Motions To Dismiss Pursuant to Rules 12(b)(2) and (6) and at
any hearing on the matter, ore tenus, your Defendants Dr. Peter and Ginger Breggins respectfully
pray that their motions be granted, and that they be granted any further relief, including but not
limited to the award of attorney’s fees, that this Court deems just and appropriate under the

circumstances.
Respectfully Submitted,

PETER R. BREGGIN, MD.
GINGER ROSS BREGGIN
By Counsel

By /s/ William M. Stanley

William M. Stanley, Esq. - VSB# 37209
THE STANLEY LAW GROUP, PLLC
13508 Booker T. Washington Hwy.
Moneta, Va. 24121

p. 540-721-6028

f. 540-721-6405
bstanley@vastanleylawgroup.com

11
Case 3:22-cv-00063-NKM-JCH Document 54 Filed 08/03/23 Page 12 o0f12 Pageid#: 847

CERTIFICATE

T hereby certify that on the 3"! day of August, 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send
notification of such filing to the following:

Steven S. Biss (VSB # 32972)

300 West Main Street, Suite 102

Charlottesville, Virginia 22903

Telephone: (804) 501-8272 Facsimile: (202) 318-4098
Email: stevenbiss@earthlink.net

Counsel for the Plaintiff

By /s/ William M. Stanley

12
